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                           United States District Court
                                     for the
                           Southern District of Florida

 Jiangmen Benlida Printed Circuit    )
 Co., Ltd., Plaintiff,               )
                                     )
 v.                                  ) Civil Action No. 21-60125-Civ-Scola
                                     )
 Circuitronix, LLC, Defendant.       )
                 Order Requiring Second Amended Complaint
         Previously, the Court ordered Plaintiff Jiangmen Benlida Printed Circuit
 Co. to amend its complaint because its allegations of diversity jurisdiction were
 lacking. (Ct.’s Order, ECF No. 4.) Among the many deficiencies the Court noted
 was that Benlida’s allegations are presented only “upon information and belief.”
 (Id. at 2–3.) As the Court specifically pointed out, “Benlida’s beliefs as to the
 membership of the parties and their respective citizenships do not qualify as
 ‘facts’ establishing jurisdiction.” (Id. at 2.) Perplexingly, Benlida’s amended
 complaint once again lodges the entirety of Benlida’s allegations “upon
 information and belief.” (Am. Compl., ECF No. 6, 1.)
         Accordingly, the Court, once again, is unable to ascertain whether
 complete diversity truly exists. The Court therefore orders Benlida to file a
 second amended complaint by February 3, 2021. This is Benlida’s final
 opportunity to properly allege the Court’s subject-matter jurisdiction. If Benlida
 fails to file a second amended complaint by that date or that complaint in any
 way fails to provide the facts necessary to establish jurisdiction, this Court will
 dismiss this case without prejudice.
       Done and ordered in Miami, Florida, on January 29, 2021.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
